                                                                            SO ORDERED.


                                                                            Dated: October 15, 2018




                                                                            Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                            _________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ARIZONA

In re:                                             )        CHAPTER 7
                                                   )
Michael N. Desvigne                                )        Case No. 2:18-bk-04969-EPB
                                                   )
                                                   )        ORDER APPROVING EMPLOYMENT
                                                   )        OF INTERNET AUCTIONEER
                     Debtor(s)                     )

         Pursuant to the provisions of 11 U.S.C. Section 327(a) and the Application for the

Appointment of Internet Auctioneer by the Trustee, Anthony H. Mason, for Carol Smith’s Asset

Sales, LLC to serve as an Internet auctioneer and for good cause appearing, said application is

herein approved.

Property of the estate to be sold is described as follows, the Estate’s Interest in:

    11,000 Points with Hilton Grand Vacations Club. Hilton Club New York Resort.
    Contract #81-3260. 2018 maintenance fees: $3,406.30. Transfer fee: $399.

         It is further ordered that upon completion of the Internet auction sale utilizing the

Internet venue, a report of sale shall be submitted to the Trustee and filed with the Court. Internet

Auctioneer’s fees shall not exceed 10% (ten) percent of the gross sales price received by the

Trustee, the reimbursement of the $225 document preparation fee collected from the buyer and expenses

not to exceed $250 per item. The Internet Auctioneer must provide an Itemization of Auctioneer’s

expenses, which is subject to Court approval thereof.

                                  DATED AND SIGNED ABOVE



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